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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,           )
                                    )      CRIMINAL ACTION NO.
       v.                           )          2:12cr84-MHT
                                    )              (WO)
JEFFREY TEMPLE                      )

                   PROBATION TERMINATION ORDER

       Upon    consideration    of      the    probation     officer’s

unopposed      petition,    asking      that   the   court   terminate

defendant Jeffrey Temple’s remaining term of probation

due to his successful compliance with all requirements

of his probation, including payment of all restitution;

and based on the representations made in open court on

May 11, 2016, it is ORDERED that the petition for early

termination      of     probation    (doc. no. 382)     is    granted;

that        defendant     Jeffrey       Temple’s      probation        is

terminated; and that defendant Temple is discharged.

       DONE, this the 11th day of May, 2016.

                                   /s/ Myron H. Thompson____
                                UNITED STATES DISTRICT JUDGE
